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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 15-61188-CIV-GOODMAN
CONSENT CASE
JOSE SILVEIRA,
Plaintiff,
Vs.

TRI-COUNTY SWEEPING SERVICES, INC., a
Florida for-profit corporation, and MICHAEL D.
LEVIN,

Defendants.
/

 

DECLARATION OF PETER BOBER
IN SUPPORT OF AWARD OF ATTORNEY’S FEES AND COSTS

I, PETER BOBER, being over the age of 18, hereby declare under penalty of

perjury, based on my own personal knowledge, that the following is true and correct:

1. I, on behalf of Bober & Bober, P.A., am the Plaintiff's legal counsel in the
above-styled action.

2. I am a member Bober & Bober, P.A., and am lead counsel to Plaintiff in
the above-styled Fair Labor Standards Act (“FLSA”) action.

3, I am a 1997 graduate of the University of Pennsylvania Law School,
where I was Senior Editor of the University of Pennsylvania Law Review.

4, Currently, the vast majority of my practice involves cases related to the

FLSA.
5. My hourly rate is presently $350.00 for work performed, and it is a fair

and reasonable hourly rate for attorneys with similar educational background and

experience in my geographic areas for representation in FLSA litigation.
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6. I have previously been awarded $350.00 per hour as a reasonable hourly

rate within the Southern District of Florida. See, e.g., Order Granting Motion to Compel

 

(DE 11) in Santos Daniel Castro Molina v. Global Garlic, Inc., et al., 12-CV-20894-CIV-
KING/McCaliley (August 8, 2012)(finding $350.00/hourly rate reasonable); see_also

Order Granting Motion to Compel (DE 20), Williams v. R&R Ventures, Inc., CASE No.

 

 

11-CV-61844-Marra/Hopkins (March 15, 2012) (finding $350.00 reasonable hourly fee
for undersigned counsel).

oe In the instant case, I incurred 14.5 total hours of time ($5,800.00) on
matters related to the above styled case. My billing records, which have been kept
throughout the course of this litigation, are attached as Exhibit A. All time recorded was
reasonably and necessarily incurred in pursuit of this case. In those attached time
records, Affiant is identified as “PJB.”

8. In addition to the foregoing, itemized costs, totaling $442.00 were
expended in this matter. This includes a $400.00 filing fee, and $32.00 on service of

process, and $10.00 for parking for the September 8, 2015 settlement conference (DE

18).

   
 

FURTHER AFFIANT SAYETH NAU

  

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ETER J. BOBER, ESQ...
Fla. Bar No. 0122955
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Bober & Bober, PA.
1930 Tyler Street
Hollywood, FL 33020

Ph: (954) 922-2298 Fax:(954) 922-5455
Jose Silveira September 17, 2015
7624 NW 5 Street, #2C
Plantation, FL
33324
File #: 15-045
Attention: Inv #: Settle
RE: v. Tri-County Sweeping Services, Inc. and Michael D. Levin for overtime
violations
DATE DESCRIPTION HOURS AMOUNT LAWYER
Sep-09-14 Meeting with Jose Silveira about unpaid 1.70 680.00 PJB
overtime wage claim.
Oct-21-14 Draft Demand letter and Complaint against Tri 0.80 320.00 PJB
County and Michael Levin
Dec-22-14 Research regarding other litigation against 0.50 200.00 PJB
Tri-County Sweeping
Mar-31-15 Draft letter to client about regarding case. 0.20 80.00 PJB
Draft second letter to client regarding case 0.20 80.00 PJB
issues.
Jun-04-15 Draft Freedom of Information Request to to 0.30 120.00 PJB
Dept of Labor.
Draft letter to client about case. 0.20 80.00 PJB
Jul-16-15 Draft letter to client regarding case issues. 0.20 80.00 PJB
Jul-20-15 Review Defendant's Response to Statement of 0.40 160.00 PJB
Claim (and review with documents)
Jul-21-15 Review defendants’ response to statement of 0.30 120.00 PJB

claim.
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Draft correspodence to opp counsel about time 0.10 40.00 PJB
records not received.
Call to opp counsel about getting payroll docs. 0.10 40.00 PJB
Sep-01-15 Draft confidential settlement statement. 0.50 200.00 PJB
Draft Motion for Clerk's Default. 0.10 40.00 PJB
Sep-03-15 Draft letter to client regarding case matters. 0.10 40.00 PJB
Sep-07-15 Prepare for 9/8 settlement conference in 0.50 200.00 PJB
Miami.
Sep-08-15 Travel to meeting with client/settlement 0.80 320.00 PJB
conference.
Meeting with Plaintiff to discuss settlement 0.50 200.00 PJB
conference.
Attend settlement conference wtih Judge 4.70 1,880.00 PJB
Goodman.
Return Travel back to law office (from 0.70 280.00 PJB
settlement conference).
Draft correspondencet to opp counsel about 0.10 40.00 PJB
consenting to magistrate jurisdiction.
Sep-17-15 Draft Joint Motion to Approve Settlement. 0.40 160.00 PJB
Meeting with Jose Silveira to discuss case and 1.10 440.00 PJB

case related matters.

Totals 14.50 $5,800.00
DISBURSEMENTS
Jun-30-15 02836 32.00
Jul-02-15 Southern District of Florida 400.00
Sep-08-15 Parking Reimbursement (settlement 10.00

conference) $10.00 (parking American Car
Parks (across street from courthouse)

Totals $442.00
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Total Fee & Disbursements for all charges on this matter $6,242.00
